      Case 3:19-cv-03674-WHA Document 254-1 Filed 07/13/22 Page 1 of 6




 1 MCGUIREWOODS LLP
     JOHN S. MORAN (pro hac application forthcoming)
 2 888 16th St. N.W., Suite 500
     Black Lives Matter Plaza
 3 Washington, D.C. 20006
     Telephone: 202.828.2817
 4 Facsimile: 202.857.1737

 5 MCGUIREWOODS LLP
     PIPER A. WALDRON (SBN 291482)
 6 1800 Century Park East, 8th Floor
     Los Angeles, CA 90067
 7 Telephone: 310.315.8250
     Facsimile: 310.956.3150
 8
     Attorneys for Proposed Intervenor
 9 American National University
10 GIBSON, DUNN & CRUTCHER LLP
     LUCAS TOWNSEND (pro hac application forthcoming)
11 1050 Connecticut Ave., N.W.
     Washington, D.C. 20036
12 Telephone: 202.887.3731
     Facsimile: 202.530.4254
13
     GIBSON, DUNN & CRUTCHER LLP
14 JAMES L. ZELENAY, JR. (SBN 237339)
     333 South Grand Avenue,
15 Los Angeles, CA 90071
     Telephone: 213.229.7449
16 Facsimile: 213.229.6449

17 Attorneys for Proposed Intervenor
     Lincoln Educational Services Corporation
18
                           UNITED STATES DISTRICT COURT
19
                        NORTHERN DISTRICT OF CALIFORNIA
20
     THERESA SWEET, ALICIA                       CASE NO. 19-cv-03674-WHA
21 DAVIS, TRESA APODACA,
     CHENELLE ARCHIBALD,                         Judge:Hon. William H. Alsup
22 DANIEL DEEGAN, SAMUEL                         Ctrm: 12
     HOOD, and JESSICA
23 JACOBSON on behalf of                         DECLARATION OF STEVEN S.
   themselves and all others similarly           COTTON IN SUPPORT OF
24 situated,                                     PROPOSED INTERVENORS
                                                 AMERICAN NATIONAL
25                Plaintiff,                     UNIVERSITY AND LINCOLN
                                                 EDUCATIONAL SERVICES
26         v.                                    CORPORATION’S MOTION TO
                                                 INTERVENE
27 MIGUEL CARDONA, in his
     official capacity as Secretary of           Hearing Date: August 18, 2022
28                                               Hearing Time: 8:00 a.m.
                                                    1
                     DECLARATION OF STEVEN S. COTTON IN SUPPORT OF MOTION TO INTERVENE
                                              3:19-cv-03674-WHA
      Case 3:19-cv-03674-WHA Document 254-1 Filed 07/13/22 Page 2 of 6




 1 the United States Department of
     Education, and                               (Class Action)
 2                                                (Administrative Procedure Act Case)
     THE UNITED STATES
 3 DEPARTMENT OF ECUATION,

 4
                Defendants.
 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     2
                      DECLARATION OF STEVEN S. COTTON IN SUPPORT OF MOTION TO INTERVENE
                                               3:19-cv-03674-WHA
     Case 3:19-cv-03674-WHA Document 254-1 Filed 07/13/22 Page 3 of 6




 1                     DECLARATION OF STEVEN S. COTTON
 2        I, Steven S. Cotton, declare as follows:
 3        1.      I am Executive Vice President for Legal & Regulatory Affairs at
 4 American National University. I submit this declaration in support of Proposed

 5 Intervenors American National University and Lincoln Educational Services

 6 Corporation’s (“Proposed Intervenors”) Motion to Intervene. The information set

 7 forth in this declaration is true and correct to the best of my knowledge, information,

 8 and belief. If called to testify regarding the matters addressed herein I could and

 9 would competently do so.
10        2.      American National University is a private university with campuses in
11 several U.S. States. The school was founded as the National Business College in

12 1886 in Roanoke, Virginia.          Today, American National University focuses on
13 providing students from around the world with career education at the Associate

14 Degree, Baccalaureate, and Master’s level.               American National University is
15 accredited by the Distance Education Accrediting Commission.

16        3.      I recently learned that, on June 22, 2022, the Plaintiffs and the United
17 States submitted a joint motion for preliminary approval of a proposed settlement in

18 Sweet v. Cardona, No. 19-cv-03674-WHA (N.D. Cal.).                        Under the proposed
19 settlement, the U.S. Department of Education will provide loan forgiveness and other

20 relief to former students who have submitted or do submit borrower-defense

21 applications concerning certain schools.

22        4.      Attached to the proposed settlement as Exhibit C is a list of schools,
23 including American National University. Under the terms of the proposed settlement,

24 the Department of Education will automatically discharge loan debt and refund prior

25 payments for students who attended these schools and submitted a borrower defense

26 application.

27        5.      The proposed settlement does not require, however, that the Department
28 of Education provide notice and an opportunity to be heard for the educational
                                         3
                    DECLARATION OF STEVEN S. COTTON IN SUPPORT OF MOTION TO INTERVENE
                                             3:19-cv-03674-WHA
      Case 3:19-cv-03674-WHA Document 254-1 Filed 07/13/22 Page 4 of 6




 1 institutions implicated, as would be required under the Department’s existing

 2 regulations for processing borrower-defense applications. The proposed settlement

 3 also does not provide any assurances that the educational institutions implicated will

 4 not have their rights impaired by loan-forgiveness decisions made under the terms of

 5 the proposed settlement (if finalized).

 6         6.    Prior to the release of the proposed settlement, I was generally aware of
 7 the Sweet litigation but did not have any reason to think that American National

 8 University might need to intervene or that its rights were genuinely at stake. I always

 9 understood the Plaintiffs’ claims to be focused on allegedly unlawful delays in the
10 Department’s processing of borrower-defense applications and individual borrowers’

11 rights to a timely and reasoned decision on their application.

12         7.    After learning about the proposed settlement, however, I became
13 concerned that the rights of American National University and other similarly-

14 situated educational institutions were at stake because the Department was proposing

15 to grant loan forgiveness without following the procedures set forth in its regulations.

16 Further, the proposed settlement would create a presumption that the schools listed

17 on Exhibit C engaged in misconduct without any requirement of proof and without

18 affording the schools themselves an opportunity to be heard.

19         8.    Many schools, including American National University, have already
20 seen negative consequences from the announcement of the proposed settlement. On

21 social media, for example, individuals are encouraging former students of the schools

22 listed on Exhibit C to submit borrower-defense applications and are falsely

23 suggesting that these schools have been subject to an adverse adjudication.

24 / / /

25 / / /

26 / / /

27 / / /

28 / / /
                                                   4
                    DECLARATION OF STEVEN S. COTTON IN SUPPORT OF MOTION TO INTERVENE
                                             3:19-cv-03674-WHA
     Case 3:19-cv-03674-WHA Document 254-1 Filed 07/13/22 Page 5 of 6




 1        9.     Given these concerns, American National University has promptly
 2 sought to retain counsel and is now seeking to intervene in the Sweet litigation to

 3 ensure that it has an opportunity to protect its rights.

 4        I declare under penalty of perjury under the laws of the United States of
 5 America that the foregoing is true and correct.

 6        Executed this 13th day of July, 2022 at Roanoke, Virginia.
 7

 8                                            By: /s/ Steven S. Cotton
 9                                                Steven S. Cotton
                                                  Executive Vice President for Legal &
10                                                Regulatory Affairs
11                                                American National University

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                   5
                    DECLARATION OF STEVEN S. COTTON IN SUPPORT OF MOTION TO INTERVENE
                                             3:19-cv-03674-WHA
     Case 3:19-cv-03674-WHA Document 254-1 Filed 07/13/22 Page 6 of 6




 1                              CERTIFICATE OF SERVICE
 2        I hereby certify that on July 13, 2022, the foregoing document entitled
 3 DECLARATION OF STEVEN S. COTTON IN SUPPORT OF PROPOSED

 4 INTERVENORS AMERICAN NATIONAL UNIVERSITY AND LINCOLN

 5 EDUCATIONAL SERVICES CORPORATION’S MOTION TO INTERVENE

 6 was filed electronically with the Clerk of the Court for the United States District

 7 Court, Northern District of California using the ECF system. Upon completion the

 8 ECF system will automatically generate a “Notice of Electronic Filing” as service

 9 through ECF to registered e-mail addresses of parties of record in the case.
10

11                                       /s/ Piper A. Waldron
12
                                         Piper A. Waldron

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                   6
                    DECLARATION OF STEVEN S. COTTON IN SUPPORT OF MOTION TO INTERVENE
                                             3:19-cv-03674-WHA
